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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                             CASE NO. 2:15-CR-131 TLN
11
                                    Plaintiff,             ORDER SEALING DOCUMENTS AS SET FORTH
12                                                         IN GOVERNMENT’S NOTICE
                             v.
13
     JOSE MANUEL VALDEZ TORRES ET AL.,
14
                                   Defendants.
15

16

17           Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s eight-page Notice of Potential

19 Conflict of Interest Relating to Defendant Edgar Eduardo Herrera’s Representation, and Government’s

20 Request to Seal shall be SEALED until further order of this Court.

21           It is further ordered that access to the sealed documents shall be limited to the government.
22           The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
23 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

24 the Government’s request, sealing the Government’s Notice of Potential Conflict of Interest Relating to

25 Defendant Edgar Eduardo Herrera’s Representation serves a compelling interest. The Court further finds

26 that, in the absence of closure, the compelling interests identified by the Government would be harmed.
27 In light of the public filing of its request to seal, the Court further finds that there are no additional

28 alternatives to sealing the Government’s Notice of Potential Conflict of Interest Relating to Defendant


       ORDER SEALING DOCUMENTS AS SET FORTH IN             1
30     GOVERNMENT’S NOTICE
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 1 Edgar Eduardo Herrera’s Representation that would adequately protect the compelling interests

 2 identified by the Government.

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 4
     Dated: February 25, 2016
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                                                       Troy L. Nunley
 7                                                     United States District Judge
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      ORDER SEALING DOCUMENTS AS SET FORTH IN         2
30    GOVERNMENT’S NOTICE
